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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                           )
                                                    )
       Plaintiff,                                   )
                                                    )
                       v.                           ) Civil Action No. 1:04-cv-00798-PLF-GMH
                                                    )
                                                    )
ALL ASSETS HELD AT BANK JULIUS                      )
BAER & COMPANY, LTD., GUERNSEY                      )
BRANCH, ACCOUNT NUMBER 121128,                      )
IN THE NAME OF PAVLO                                )
LAZARENKO, LAST VALUED AT                           )
APPROXIMATELY $2 MILLION IN                         )
UNITED STATES DOLLARS, ET AL.,                      )
                                                    )
       Defendants.                                  )


  ALEXANDER LAZARENKO’S REPLY REGARDING HIS OBJECTIONS TO THE
        MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

       In its Response to Claimant Alexander Lazarenko’s Objections to the Magistrate Judge’s

Report and Recommendation, the Government dismisses Claimant Lazarenko’s assertion that he

is entitled to participate in this litigation in the United States and must have the opportunity to

attend the trial of this matter in person stating, “Before contemplating how to conduct a trial in this

matter, the parties must finish discovery.” ECF 1232 at 7. However, the question of Alexander

Lazarenko’s right to be present for litigation of this matter is central to a determination of whether

a refusal to be deposed in Ukraine is in effect a refusal to be deposed at all. It is not.

       The Government’s Response conveniently ignores the fact that the United States

Government is a party to this case and that the United States Government has unilateral control

over whether Alexander Lazarenko may enter the United States. It is the United States of America

that is seeking to forfeit approximately $180 million in which Alexander Lazarenko has an interest,

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and it is the United States of America that has denied him entry into the country to participate in

that lawsuit by being deposed in the United States. It is fundamentally unfair for a party to the

litigation, whether acting through the lawyers specifically assigned to this matter or acting through

its employees who reside in Ukraine, to deny an opposing party the right to be present in the

location where all the documents relevant to his deposition are located, where he may consult with

family member witnesses to refresh his recollection of events long past, where his lawyers and

their offices are located, and where he is safe from involvement and potential retaliation from

Ukrainian government officials. Alexander Lazarenko has consistently maintained that he will sit

for deposition in the United States, and it is the United States of America, not Alexander

Lazarenko, that has prevented him from doing so.

       Because Alexander Lazarenko has been and remains willing to be deposed in this matter

in the United States, dismissal of his claims is an unwarranted and extreme sanction and should

not be imposed.

       Dated: November 8, 2019

                                              Respectfully submitted,

                                              By: __/s/_____________
                                              Emily Beckman
                                              King Campbell Poretz
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                                              KATERINA LAZARENKO and LESSIA
                                              LAZARENKO




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on November 8, 2019, I electronically filed the foregoing document

with the clerk of the court for the U.S. District Court for the District of Columbia, using the

electronic case filing system of the court under seal. The electronic case filing system sent a

“Notice of Electronic Filing” to the attorneys of record who have consented in writing to accept

this Notice as service of this document by electronic means. I also certify that parties not so

noticed have been served in accordance with Fed. R. Civ. P. 5(d).


                                              By:     _/s/Emily Beckman____________
                                                      Emily Beckman
